                    Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 1 of 54


 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 SOUTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Midway Oilfield Constructors, Inc.

2.   All other names debtor used       dba Midway Energy Services
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           7      4      –      2      2        0    4         2   3     8

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       P.O. Box 245
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Midway                              TX       75852
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Madison                                                         from principal place of business
                                       County

                                                                                                       Assets are held in multiple locations in the State of Te
                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                    Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 2 of 54

Debtor Midway Oilfield Constructors, Inc.                                               Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return or if
                                                             all of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                             Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                             form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                             Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                        When                      Case number
     years?                                                                                              MM / DD / YYYY

                                                District                                        When                      Case number
     If more than 2 cases, attach a
                                                                                                         MM / DD / YYYY
     separate list.
                                                District                                        When                      Case number
                                                                                                         MM / DD / YYYY



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                    Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 3 of 54

Debtor Midway Oilfield Constructors, Inc.                                                Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.



Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
                    Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 4 of 54

Debtor Midway Oilfield Constructors, Inc.                                                Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 08/15/2018
                                                      MM / DD / YYYY

                                          X /s/ Billy A. Smith, Sr                                  Billy A. Smith, Sr
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Kimberly A. Bartley                                                Date     08/15/2018
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Kimberly A. Bartley
                                            Printed name
                                            Waldron & Schneider, L.L.P.
                                            Firm name
                                            15150 Middlebrook Drive
                                            Number          Street



                                            Houston                                                    TX                   77058
                                            City                                                       State                ZIP Code


                                            (281) 488-4438                                             kbartley@ws-law.com
                                            Contact phone                                              Email address
                                            24032114                                                   TX
                                            Bar number                                                 State




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 4
                  Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 5 of 54


                                      UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION
  IN RE:   Midway Oilfield Constructors, Inc.                                        CASE NO

                                                                                    CHAPTER    11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 8/15/2018                                           Signature    /s/ Billy A. Smith, Sr
                                                                     Billy A. Smith, Sr
                                                                     President


Date                                                     Signature
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 6 of 54



                 2-C Equipment LLC
                 P.O. Box 276
                 Jarrell, TX 76537-0276



                 2D's Oilfield Services, Inc.
                 c/o RTS Financial Services, Inc.
                 P.O. Box 840267
                 Dallas, TX 75284-0267


                 3-D Disposal
                 11258 State Hwy 21 W
                 Caldwell, TX 77836



                 3-L Cattle Co
                 14007 Hwy 21 West
                 Crockett, TX 75835



                 300 Tire & Automotive Repair
                 210 S Buckeye St
                 Wooster, TX 44691



                 A-1 Pump Inc
                 P.O. Box 4289
                 Bryan, TX 77805



                 A-1 Smith's Septic Services, Inc.
                 313A FM 3478
                 Huntsville, TX 77320



                 AAA Drilling Foundation Co Inc
                 3157 Horton Rd
                 Ft Worth, TX 76119



                 ACC Business
                 P.O. Box 105306
                 Atlanta, GA 30348-5306
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 7 of 54



                 Ace Funding
                 6420 Wilshire Blvd, #860
                 Los Angeles, CA 90048



                 Ace Funding Source LLC
                 366 North Broadway
                 Jericho, NY 11753



                 Action Equipment 1
                 19 N Vesper St
                 Lock Haven, PA 17745



                 Action Mobile
                 P.O. Box 758689
                 Baltimore, MD 21275-8689



                 Adler Tank Rentals LLC
                 P.O. Box 45081
                 San Francisco, CA 94145-0081



                 Adlers, Weldon "Buddy"
                 11099 Goose Prarie Rd
                 Midway, TX 75852



                 ADP, LLC
                 1851 N Resler Dr MS-100
                 El Paso, TX 79912



                 Advanced Funding/Forward Funding
                 Edward Federico
                 100 Summer Street, Ste 1175
                 Boston, MA 02110


                 Aggregate Haulers 1 LP
                 P.O. Box 65178
                 San Antonio, TX 78265-5178
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 8 of 54



                 Air Products & Chemicals, Inc
                 P.O. Box 935430
                 Atlanta, GA 31193-5430



                 Airgas USA, LLC
                 P.O. Box 676015
                 Dallas, TX 75267-6015



                 Al-Dai Transport, LLCF
                 TBS Factoring Serv LLC
                 103 Warren Tucker
                 Ruidoso, NM 88345


                 Albright Welding Supply Co Inc
                 P.O. Box 35
                 Wooster, OH 44691



                 Ally Bank
                 P.O. Box 9001948
                 Louisville, KY 40290-19498



                 American Express
                 P.O. Box 65044
                 Dallas, TX 75265



                 AMX Access Services
                 6110 Edgemoor Dr
                 Houston, TX 77081-5808



                 Apple Mobile Leasing
                 P.O. Box 872
                 Brunswick, OH 44212-0872



                 Aramark Uniform Services
                 AUS Tyler MC Lockbox
                 P.O. Box 731676
                 Dallas, TX 75373-1676
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 9 of 54



                 ARCO Mobile Fire Extinguisher
                 P.O. Box 1234
                 Stephenville, TX 76401



                 Arnold Trucking, Inc.
                 3805 FM 1997N
                 Marshall, TX 75670-2513



                 AT&T Landline
                 P.O. Box 105414
                 Atlanta, GA 30348-5414



                 AT&T Mobility
                 P.O. Box 6463
                 Carol Stream, IL    60197-6463



                 Atwood, Randy
                 2349 FM 123
                 DeBerry, TX 75639



                 Ausmar Trucking
                 335 Liberty Road
                 New Concord, OH 43762



                 Aviles, Adrian
                 215 Geraldine St
                 Uvalde, TX 78801



                 B&G Materials
                 P.O. Box 969
                 Beevile, TX 74104



                 Badger Daylighting Corp
                 75 Remittance Dr., #3185
                 Chicago, IL 60675-3185
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 10 of 54



                  BAKERCORP
                  P.O. Box 843596
                  Los Angeles, CA   90084-3596



                  Baldwin Redi Mix Co Inc
                  P.O. Box 670
                  Baldwin, LA 70514



                  Bank of America
                  P.O. Box 15710
                  Wilmington, DE 19886



                  Barclay View Farms
                  14609 Rt 414
                  Monroeton, PA 18832



                  Basden Industrial Group LLC
                  P.O. Box 1061
                  Burleson, TX 76097



                  Bee County Tax AC
                  Linda G Bridge Tax Assessor
                  P.O. Box 1900
                  Beeville, TX 78104-1900


                  Bell Supply Company
                  P. O. Box 842263
                  Dallas, TX 75284



                  Best Line Equipment
                  2582 Gateway Drive
                  State College, PA 16801



                  Best Materials
                  19754 FM 39
                  Iola, TX 77861-3678
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 11 of 54



                  Best Western
                  3307 East Main St
                  Madisonville, TX 77864



                  Bickley, Prescott & Co PC
                  1223 Financial Plaza
                  Huntsville, TX 77340



                  Bishop's Full Time Portables
                  23449 Route 220
                  Ulster, PA 18850



                  Biz Funding
                  517 Funding 762 Orange St, #762
                  Wilmington, DE 19801



                  Blast-One International
                  P.O. Box 933052
                  Cleveland, OH 44193



                  Blueline Rental
                  P.O. Box 840062
                  Dallas, TX 75284-0062



                  Bobcat Compact Construction
                  P.O. Box 650823
                  Dallas, TX 75266-0823



                  Brady's Welding & Machine Shop Inc
                  P.O. Box 788
                  Healdeton, OK 73438



                  Brand Safway Solutions
                  P.O. Box 206667
                  Dallas, TX 75320--6667
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 12 of 54



                  Brazos Dozer Service Inc
                  9349 Dilly Shaw Tap Rd
                  Bryan, TX 77808



                  Brazos Valley Emergeny Physicians
                  P.O. Box 2283
                  Mansfield, TX 46063-0047



                  Bryan Freightliner, LP
                  c/o Commercial Billing Serv
                  P.O. Box 2201
                  Decatur, AL 35609-2201


                  Bryan Hose & Gasket, Inc.
                  1800 Quality Park Lane
                  P.O. Box 2320
                  Bryan, TX 77806


                  Buckeye Water Service Co
                  P.O. Box 409
                  New Concord, OH 43762



                  Buffalo Express
                  P.O. Box H
                  Buffalo, TX 75831



                  Buffalo Gap I&E
                  325 N West St
                  Buffallo Gap, TX    79508



                  Burke Welding Supply & Toool Co
                  P.O. Box 1587
                  810 W Sealy
                  Monohans, TX 78756


                  C&E Production, LLC
                  6162 FM 1179
                  Bryan, TX 77808
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 13 of 54



                  C&L Sanitation Inc
                  P.O. Box 691
                  Perrysburg, OH 43552



                  C.C. Creations
                  1800 Shiloh Ave
                  Bryan, TX 77803



                  Caddyshack Portable Restrooms
                  378 Factory Rd
                  Cogan Station, PA 17728



                  Capital City
                  2299 Performance Way
                  Columbus,OH 43207



                  Carrizo Oil & Gas
                  500 Dallas St, Ste 2499
                  Houston, TX 77002



                  CAT Commercial
                  PO Box 730681
                  Dallas, TX 75373



                  CAT Financial
                  P.O. Box 730681
                  Dallas, TX 75373-0681



                  CC Rentals
                  P.O. Box 10655
                  Corpus Christi, TX     78460



                  CCK Strategies
                  8811 South Yale Ave, Ste 400
                  Tulsa, OK 74137
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 14 of 54



                  Cemex
                  P.O. Box 730197
                  Dallas, TX 75373-0197



                  Centex Supply
                  P.O. Box 218
                  Madisonville, TX   77864



                  Central Equipment Company
                  5223 Lycoming Mall Dr
                  Montoursville, PA 17754



                  Centre Concrete Company
                  P.O. Box 859
                  State College, PA 16804



                  Challenger Services
                  4530 S Jackson Ave
                  Tulsa, OK 74107



                  Charles Cotrone Disposal Co
                  9505 Cotrone Rd
                  Bryan, TX 77807



                  Charter Waste
                  P.O. Box 677839
                  Dallas, TX 75267



                  Chemical Professionals, Inc
                  P.O. Box 1693
                  Cedar Park, TX 78630



                  Chemtex Industrial, Inc.
                  P.O. Box 6964
                  Longview, TX 75608
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 15 of 54



                  Chi St Joseph Health
                  P.O. Box 660445
                  Dallas, TX 75266-0445



                  Choate Forest Pros
                  P.O. Box 3607
                  Williamsport, PA 17701



                  Chrysler Capital
                  PO Box 660335
                  Dallas, TX 75266-0335



                  Circle S Trucking, Inc.
                  1948 CR 1234
                  Nemo, TX 76070



                  CIRCOR Reliability Serv Co
                  P.O. Box 840528
                  Dallas, TX 75284-0258



                  CIRRA Networks
                  P.O. Box 123686
                  Ft Worth, TX 76121-3686



                  City of Bucyrus Utility Dept
                  P.O. Box 390
                  Bucyrus, OH 44820



                  City of Centerville
                  P.O. Box 279
                  325 E St Mary's
                  Centerville, TX 78533-0279


                  City of Midway Water Depart
                  P.O. Box 227
                  Midway, TX 75852
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 16 of 54



                  City of Sunray
                  P.O. Box 250
                  Sunray, TX 79086



                  City Pipe & Supply Corp
                  P.O. Box 946
                  Odessa, TX 79086



                  Clearpath Utility Solutions
                  8155 Ridge Rd
                  Zanesville, OH 43701



                  Clemtex
                  P.O. Box 15214
                  Houston, TX 77220-5214



                  Cleveland Brothers Equipment
                  4565 William Penn Hwy
                  Murrysville, PA 15668



                  CMC Construction Services
                  P.O. Box 844573
                  Dallas, TX 75284-4573



                  CNH Capital Lockbox
                  P.O. Box 7247
                  Philadelphia PA 19170



                  Coastal Chemical Co LLC
                  P.O. Box 820
                  Abbeville, LA 70511



                  Coastal Resources Group LLC
                  2105 Anders Lane, Ste D
                  Kemah, TX 77565
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 17 of 54



                  Colorado Materials Ltd
                  P.O. Box 2109
                  San Marcos, TX 78667



                  Comcast Business
                  P.O. Box 660618
                  Dallas, TX 75266-0618



                  Compass Bank
                  Commercial Billing Service
                  PO Box 2201
                  Decatur, AL 35609


                  Complete Energy Services
                  P.O. Box 3907
                  Enid, OK 73702



                  Compmanagement, Inc.
                  P.O. Box 884
                  Dublin, OH 43017



                  Conners Construction Inc
                  2513 US Hwy 77
                  Lott, TX 76656



                  Cotulla Independent School Dist
                  310 N Main St
                  Cotulla, TX 78014



                  Crisp Tire & Lube
                  P.O. Box 280
                  903 Dobie Rd
                  Cotulla, TX 78014


                  Crossbridge Compliance
                  P.O. Box 8024
                  Longview, TX 75607
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 18 of 54



                  Crude State Energy Services LLC
                  115 N Cedar St
                  Pecos, TX 78772



                  CSJ Technology Group
                  P.O. Box 4486
                  Bryan, TX 77805



                  CT Corporation
                  P.O. Box 4349
                  Carol Stream, IL   60197-4349



                  Currency Capital
                  12100 Wilshire Blvd, #1750
                  Los Angeles, CA 90025



                  Cuz Excavating, LLC
                  239 Buck Run Lane
                  Canton, PA 17724



                  CWO, Inc.
                  P.O. Box 1877
                  Mohahans, TX 79756



                  Dale's 81 Electric LLC
                  P.O. Box 183
                  Kingfisher, OK 73750



                  Dansco Manufacturing & Pumping
                  2149 Moore Ave SE
                  Canton, OH 44707



                  Deduction Recovery Group
                  P.O. Box 6065-02
                  Hermitage, PA 16148-1065
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 19 of 54



                  DeLage Landen
                  P.O. Box 41602
                  Philadelphia, PA   19101-1602



                  Dell Business Credit
                  Payment Processing Center
                  P.O. Box 5275
                  Carol Stram, IL 60197


                  Diamond H Trenching Inc
                  P.O. Box 280
                  Ponder, TX 76259-0280



                  Diana Vick
                  P.O. Box 681
                  Madisonville, TX   77864



                  DISA INC
                  P.O. Box 120314
                  Dallas, TX 75312-0314



                  Distribution Now - Wilson
                  P.O. Box 200822
                  Dallas, TX 75320-0822



                  DMI International Inc.
                  15615 E Pine St
                  Tulsa, OK 74116



                  Documation
                  PO Box 609
                  Cedar Rapids, IA   52406



                  Documation - Texas Document Solution
                  PO Box 609
                  Cedar Rapids, IA 52406
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 20 of 54



                  Doggett Machinery
                  10110 Daradele Ave
                  Baton Rouge, LA 70816



                  Donohue's Hilltop Ice Co Ltd
                  11112 Highland Ave
                  Camrbidge, OH 43725



                  DPWA
                  P.O. Box 22
                  Dacoma, OK 73731



                  Drakes Service Center Inc
                  PO Box 28
                  Madisonville, TX 77864



                  Driven Servics, LLC
                  2071 Davis Rd
                  Lipan, TX 76462



                  Dunn Tanks Inc
                  PO Box 714
                  Ruston, LA 71270



                  Eagle NDT LLC
                  PO Box 6290
                  Abilene, TX 79608-6290



                  Eagle Oil Inc
                  PO Box 1455
                  McAlester, OK   74502



                  Eaglebine Water Solutions
                  5028 Champions Dr
                  Lufkin, TX 75901
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 21 of 54



                  East Texas Mack
                  PO Box 2867
                  Longview, TX 75606



                  Ector County Appraisal Dist
                  1301 E 8th St
                  Odessa, TX 79761-4703



                  Electra Link Inc
                  PO Box 4346, Dept 467
                  Houston, TX 77210-4346



                  Ellen Contreras Shelburne
                  Waller Cty Tax Assessor
                  790 9th St
                  Hempstead, TX 77445


                  Ellis Construction Specialities, Ltd
                  12407 Holmboe Ave
                  Oklahoma City, OK 73114-8114



                  Entegra Energy Solutions LLC
                  PO Box 1087
                  Bridgeport, WV 26330



                  Entergy
                  PO Box 8104
                  Baton Rouge, LA   70891-8104



                  EPayrollExpress - Time Solutions
                  2600 Garden Rd, #112
                  Monterey, CA 93940



                  Evergreen Tank - Mobile Mini
                  Dept #459
                  PO Box 4869
                  Houston, TX 77210-4869
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 22 of 54



                  F&S Radiology PC
                  PO Box 743854
                  Dept 40011
                  Atlanta, GA 30374-3854


                  Fairfield Ford of Williamsport Inc
                  3600 WEst 4th St
                  Williamsport, PA 17701



                  Fastenal
                  PO Box 1286
                  Winona, MN 55987-0978



                  FEDEX
                  PO Box 660481
                  Dallas, TX 75266-0481



                  Fleetmatic
                  PO Box 347472
                  Pittsburgh, PA   15251-4472



                  Flexpipe Systems (US) LLC
                  Showcorp Composite Prod Systems
                  PO Box 975369
                  Dallas, TX 75397-5369


                  Flexsteel Pipeline Technologies Inc
                  500 Dallas St Ste 500
                  Houston, TX 77002



                  Ford Motor Credit
                  P.O. Box 79002
                  St Louis, MO 63179-0072



                  Forrest Brothers Tire And Alignment
                  2525 E 8th St
                  Odessa, TX 79761
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 23 of 54



                  Fox NDE, LLC
                  PO Box 5088
                  Abilene, TX 79608



                  Frontier Pest Control
                  PO Box 277
                  Midway, TX 75852



                  Frost Crushed Stone Co Inc
                  PO Box 272
                  Mexia, TX 76667



                  Full Circle Oilfield Service
                  7585 State Route 821
                  Whipple, OH 45788



                  Gajeske, Inc
                  6200 N Houston Rosslyn Rd
                  Houston, TX 77091



                  GCR Tire Center
                  1840 Roughneck Dr
                  Bryan, TX 77808



                  GE Finance
                  P.O. Box 933209
                  Philadelphia, PA    19182



                  General Washout and Renewable Resources
                  4837 W Hwy 79
                  Jewett, TX 75846



                  Geo-Solutins, Inc.
                  7011 B West Bee Cave Rd
                  Austin, TX 78746
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 24 of 54



                  Geonix
                  PO Box 2169
                  Kilogore, TX   75663



                  Germer PLLC
                  PO Box 4915
                  Beaumont, TX   77704



                  Glez Welding LLC
                  709 Southwood Rd
                  Canotillo, TX 79835



                  Goins Crane Service
                  PO Box 5276
                  Abilene, TX 79608



                  Gomez, Ramon
                  11824 W 64th St
                  Odessa, TX 79764
                  `


                  Gore's Gotta Go Portable Restroom
                  PO Box 6
                  Leedey, OK 73654



                  Grainger
                  PO Box 419267
                  Kansas City, MO   64141-6267



                  Grassbaugh LLC
                  13619 TR 20
                  Glenmont, OH 44028



                  Great America Leasing
                  PO Box 660831
                  Dallas, TX 75266-0631
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 25 of 54



                  GreatAmerican Financial Serv Corp
                  625 First Street
                  Cedar Rapids, IA 52401-2030



                  GreatAmerican Financial Services
                  625 First Street
                  Cedar Rapids, IA 52401-2030



                  Green Mountain Construction
                  2405 N Center Ave, Ste C
                  Somerset, PA 15501



                  Green's Energy Group LLC
                  PO Box 775705
                  Chicago, IL 60677-5705



                  Greens Welding Supply
                  PO Box 1316
                  Granbury, TX 76048-1316



                  Groff Tracdtor & Equipment
                  PO Box 62904
                  Baltimore, MD 21264-2904



                  Gully Trucking Inc
                  2851 FM 1582
                  Pearsall, TX 78061



                  Gunnels and Son Restroom LLC
                  PO Box 29
                  Huntsville, TX 77342



                  H and K Construction
                  PO Box 883
                  Centerville, TX 75833
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 26 of 54



                  H&H Xray Services
                  PO Drawer 517
                  West Monroe, LA 71294-0517



                  H2O Express, Inc
                  PO Box 42
                  6 Johnson Ln
                  Mcelhattan PA 17748


                  Hanes Supply Inc
                  55 James E Casey Dr
                  Buffalo, NY 14206



                  Hanna Cambpell & Powell LLP
                  3737 Embassy Pkwy Ste 100
                  Akron, oh 44333



                  Harger Utility Contractors, Inc
                  108 W Clinton St
                  Lock Haven, PA 17745



                  Hensarling SWD Ltd
                  4104 Highway 21 E
                  PO Box 663
                  Bryan, TX 77806


                  Henson Ford Inc
                  105 S May
                  Madisonville, TX     77864



                  Henson Motor Company
                  105 S May
                  Madisonville, TX 77864



                  Henson Sales & Service
                  105 S May
                  Madisonville, TX 77864
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 27 of 54



                  HERC Rentals
                  PO Box 936257
                  Atlantic, GA 31193



                  Hinostroza's Dump Trucking
                  1772 W 53rd Ln
                  Fort Stockton, TX 78735



                  Hitachi
                  21925 Network Place
                  Chicago, IL 60673



                  Holt Cat
                  PO Box 650345
                  Dallas, TX 75265-0345



                  Home City Ice
                  PO Box 111116
                  Cincinnati, OH   45211



                  Houston County Tax Office
                  401 E Goliad, Ste 101
                  Crockett, TX 75835



                  Houston Cty Appraisal Dist
                  PO Box 112
                  Crockett, TX 75835



                  Houston Cty Electrric
                  PO Box 52
                  Crockett, TX 75835



                  Houston Cty Tax Office
                  PO Box 941
                  Crockett, TX 75835
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 28 of 54



                  Howard Mcanear Equipment Co
                  PO Box 162029
                  Ft Worth, TX 76161-2029



                  Huntsville Memorial Hospital
                  110 Memorial Hospital Dr
                  Huntsville, TX 77340



                  Husky Hydrovac LLC
                  130 E Tenth Ave
                  South Hutchinson, KS   67505



                  Hytorc
                  333 Route 17 N
                  Mahwah, NJ 07430



                  Hytorc of Texas Inc
                  12420 Texaco Rd
                  Houston, TX 77013-4213



                  ICR Equipment Rental Sales & Supply
                  3351 Hamilton St
                  Bellaire, OH 43906



                  Integrity Industries Inc
                  PO Box 5342
                  Kingsville, TX 78364



                  Interstate Truck Center LLC
                  1 Eye Center Dr
                  Muncy, PA 17756



                  IRS
                  Stop 5022 HOU
                  1919 Smith Street
                  Houston, TX 77002
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 29 of 54



                  IRS
                  P.O. Box 7346
                  Philadelphia, PA     19114



                  ISI Commercial Refrigeration
                  PO Box 654020
                  Dallas, TX 75265-4020



                  ISI Commercial Refrigeration Inc
                  PO Box 167
                  Houston, TX 77001



                  J & B Propane
                  PO Box 607
                  Madisonville, TX     77864



                  J-B Oilfield Services
                  PO Box 326
                  Lamont, Ok 74643



                  J. R. Tool & Die
                  3230 Columbus Rd
                  Wooster, OH 44691



                  J.L. Ice LLC
                  PO Box 478
                  Crystal City, TX     78839



                  Jacob & Martin LLC
                  3465 Curry Lane
                  Abilene, TX 79606



                  Jeff Liddic
                  1096 Tombs Run Road
                  Jersey Shore, PA 17740
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 30 of 54



                  JF Warren Air Conditioning
                  206 Crossroads
                  Madisonville, TX 77864



                  JMF Underground Inc
                  841 West Trindle Rd
                  Mechanicsburg, PA 17055



                  JML Management
                  748 State Hwy 7 W
                  Center, TX 75935



                  JNR Equipment Erosion Services LLC
                  3343 State Route 3004
                  Meshoppen, PA 18630



                  Joe Lieberman
                  Ivy Receivables
                  3023 Ave J
                  Brooklyn, NY 11210


                  John Deere Financial
                  P.O. Box 660
                  Johnston, IA 50131



                  JP Services
                  633 Rankin Circle N
                  Houston, TX 77073



                  JT Clark & Sons
                  10445 Greenbriar Rd
                  Madisonville, TX 77854



                  Just In Time Sanitation Serv
                  PO Box 290
                  Carthage, TX 75633
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 31 of 54



                  K&B Directional Inc
                  4234 E FM 2795
                  Alba, TX 75410



                  K.D. Timmons Inc
                  PO Drawer 2609
                  Bryan, TX 77805



                  Kepner Farm Supply LLC
                  429 Maple Lane
                  Muncy, PA 17756



                  Kimble Recycling & Disposal Inc
                  PO Box 448
                  Dover, OH 44622



                  Knife River
                  PO Box 674
                  Bryan, TX 77806



                  Komatsu Financial
                  1701 W Golf Rd
                  Rolling Meadows, IL      60008-4227



                  Krenek, Keith A
                  PO Box 576
                  Lovelady, TX 75851



                  Labelleco Fab LLC
                  PO Box 20516
                  Beaumont, TX 77720



                  Lafarge Holcim
                  PO Box 732101
                  Dallas, TX 75373-2101
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 32 of 54



                  Lasalle County Tax Office
                  PO Box 737
                  Cotulla, TX 78014



                  LegalShield
                  PO Box 2629
                  Ada, OK 74821-2629



                  Lehman's Pipe & Steel, Inc.
                  803 Robertson Loop
                  Pollok, TX 75969



                  Leroy Qurarry Decristo
                  214 E Van Fleet Rd
                  Canton, PA 17724



                  LH Chaney Materials Inc.
                  PO Box 1665
                  Roanoke, TX 76262



                  Lowery Wholesale
                  PO Box 130
                  Paradise, TX 76073



                  Lowes Service
                  PO Box 530954
                  Atlanta, GA 30353



                  Lykins Oil Company
                  PO Box 643875
                  Cincinnati, OH 45264-3875



                  M&B SWD Limited
                  4104 Hwy 21 East
                  PO Box 663
                  Bryan, TX 77806
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 33 of 54



                  M&J Trucking Inc
                  PO Box 459
                  Fort Stockton, TX     79735



                  M.Y. Vic Marital Deduction Trust
                  PO Box 681
                  Madisonville, TX 77864



                  Mack Commercial Finance
                  P.O. Box 7247-0236
                  Philadelphia, PA 19170-0236



                  Madison County ISD
                  718 Bacon St
                  Madisonville, TX 77864



                  Madison County Tax Assessor
                  P.O. Box 417
                  101 W Main St, Rm 102
                  Madisonville, TX 77864


                  Madisonville Auto Parts
                  610 East Main
                  Madisonville, TX 77864



                  Madisonville Kawasaki
                  304 S May
                  Madisonville, TX 77864



                  Madisonville Meteor
                  205 N Madison
                  PO Box 999
                  Madisonville, TX 77864


                  Marquez SWD Limited
                  PO Box 663
                  Bryan, TX 77806
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 34 of 54



                  Martin Marietta Materials
                  PO Box 677061
                  Dallas, TX 75267



                  Matheson Tri=Gas Inc
                  Dept 3028
                  PO Box 12308
                  Dallas, TX 75312


                  Maverick Cty Solid Waste Authority Inc
                  PO Box 10
                  El Indio, TX 78852



                  Mayfield Pipe & Lumber
                  1500 State Hwy 60 N
                  Bay City, TX 77414



                  MBL Metals LLC
                  9640 E State Hwy 21
                  Bryan, TX 77808



                  McCaffety Electric Co
                  PO Box 163
                  Huntsville, TX 77342-0163



                  McClintock Quarries
                  15222 US 220 Hwy
                  Muncy Valley, PA 17758



                  MD Energy Services
                  PO Box 1204
                  Shawnee, OK 74802



                  MedExpress Billing
                  Attn# 7964C
                  PO Box 14000
                  Belfast, WV 04915
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 35 of 54



                  MedExpress Urgent Care
                  PO Box 7964
                  Belfast, WV 04915-7900



                  Melway Paving Co Inc
                  7571 State Route 85
                  Holmesville, OH 44633



                  Metal Culverts of Navasota
                  PO Box 1580
                  Navasota, TX 77868



                  MF Holding Ltd
                  18467 Cupress Rosehill Rd
                  Cypress, TX 77429



                  Mid-South Syneergy
                  PO Box 970
                  Navasota, TX 77868-0970



                  Midwest Hose
                  PO Box 96558
                  Oklahoma City, OK    73143



                  Milestone Environmental Services Inc
                  15721 Park Row, Suite 150
                  Houston, TX 77084



                  Miller Transfer
                  PO Box 453
                  Roostown, OH 44272



                  Mills Equipment & Tool Rental LLC
                  7980 E 122
                  Wetumka, OK 74883
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 36 of 54



                  Mobile Mini, Inc
                  PO Box 650882
                  Dallas, TX 75262-0882



                  Moore Trucking
                  283 Sunset Rd
                  Canton, PA 17724



                  MR Sandbag LLC
                  916 S Main St
                  Towanda, PA 18848



                  MT Business Technologies Inc
                  PO Box 37
                  Mansfield, OH 44901-0037



                  Mustang Cat
                  PO Box 4346
                  Dept 144
                  Houston, TX   77210-4346


                  Mustang Rental Services Inc
                  PO Box 4346
                  Dept 188
                  Houston, TX 77210-4346


                  Nalcom Wireless Communications Inc
                  PO Box 10530
                  College Station, TX 77210-4346



                  Napa-Genuine Auto Parts/PA
                  PO Box 414988
                  Boston, MA 02241-4988



                  Napa-Madisonville
                  205 S May St
                  Madisonville, TX 77864
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 37 of 54



                  National Oilwell Varco
                  PO Box 205155
                  Dallas, TX 75320-5155



                  NDE Solutions Inc
                  PO Box 3923
                  Bryan, TX 77805



                  Neim Services LLC
                  3309 State Route 2014
                  Clifford Township, PA    18421



                  Newman Printing Co Inc
                  1300 East 29th St
                  Bryan, TX 77802



                  Newman Tractor
                  2841 Verona Rd
                  Verona, KY 41092



                  Normangee Tractor
                  190 Hwy 39 South
                  Normangee, TX 77871



                  Nova Healthcare, PA
                  PO Box 840066
                  Dallas, TX 75284



                  NVI Nondestructive & Visual Inspection
                  PO Box 1690
                  Gray, LA 70359



                  Office Depot
                  PO Box 660113
                  Dallas, TX 75266
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 38 of 54



                  Ohio Cat
                  PO Box 774439
                  4439 Solutions Center
                  Chicago, IL 60677-4004


                  Orrville Trucking & Grading Co
                  PO Box 220
                  Orrbville, OH 44667



                  Owen Lease Services
                  4095 FM 975
                  Caldwell, TX 77836



                  Pac-Van Inc
                  75 Remittance Dr #3300
                  Chicago, IL 60675



                  Parkview Regional Hospital
                  PO Box 630957
                  Cincinnati, OH 45263-0957



                  PEC Premier Safety Operations
                  233 General Patton Ave
                  Madenville, LA 70471



                  Pedigree Technologies
                  4776 28 Ave S, Ste 101
                  Fargo, ND 58104



                  Pelton Trucking Co Inc
                  10534 Route 514 Ste 1
                  Monroeton, PA 18832



                  Performance Truck
                  PO Box 2208
                  Decatur, AL 35609
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 39 of 54



                  Pinnacle Erosion Control
                  110 Maple Dr
                  Centre Hall, PA 16828



                  Pioneer Steel & Pipe Co Ltd
                  PO Box 78
                  Kurten, TX 77808



                  Pioneer Waste Services
                  PO Box 7345
                  Pasadena, TX 77508



                  Pipeline Intellegence Co
                  PO Box 1099
                  Missouri City, TX 77459



                  Pitney Bowes Inc
                  PO Box 371874
                  Pittsburgh, PA 15250-7874



                  Pooler, Jimmy
                  PO Box 1022
                  Wooster, Oh 44691



                  PPG Architectural Ohio
                  PO Box 842409
                  Boston, TX 02284-2049



                  PPL Electric
                  2 N 9th St
                  RPC-GENNI
                  Allentown, PA   18101--1175


                  Praxair Distributing, Inc.
                  Dept CH 10660
                  Palatine, IL 60055-0660
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 40 of 54



                  Praxair-PA 71830694
                  PO Box 382000
                  Pittsburgh, PA 15250-8000



                  Princess Three Operating, LLC
                  PO Box 1983
                  Henderson, TX 75653



                  Producers Coop
                  PO Box 1112
                  Bryan, TX 77806



                  Prosperity Bank
                  1205 N Navarro St
                  Victoria, TX 77901



                  Protect Controls, Inc.
                  3212 Old Hwy 105 E
                  Conroe, TX 77301



                  Protection 1
                  PO Box 219044
                  Kansas City, MO    64121-9044



                  PSS Rental LLC
                  PO Box 74321
                  Cleveland, OH 44194



                  Purchase Power
                  PO Box 371874
                  Pittsburgh, PA    15250-7874



                  Quickshot Trucking
                  PO Box 72022
                  Oklahoma City, OK 73172
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 41 of 54



                  R&D Distributing Ltd
                  PO Box 1507
                  Center, TX 75935-0327



                  R&J Excavating LLC
                  1268 N Route 44 Hwy
                  Jersey Shore, PA 17740



                  RBJ & Associates LP
                  8501 N FM 1788
                  Midland, TX 79707



                  RDO Equipment Company
                  5301 Mark IV Parkway
                  Fort Worth, TX 76106



                  Redtail Equipment Rental
                  3101 Longmire Dr
                  College Station, TX 77845



                  Reliant Energy
                  PO Box 650475
                  Dallas, TX 75265-0475



                  Republic Services
                  PO Box 78829
                  Phoeniz, AZ 85062-8829



                  Ri-Nu Environmental Serv Millanno LLC
                  PO Box 95457
                  Grapevine, TX 76099-9752



                  Richland Engineering Limited
                  29 North Park St
                  Mansfield, OH 44902-1769
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 42 of 54



                  Riverbend Equipment Leasing Inc
                  500 Davenport Dr
                  College Station, TX 77845



                  Rogue Construction, LLC
                  c/o VIVA Capital Funding
                  PO Box 17548
                  El Paso, TX 79917


                  Rush Truck Center, Lufkin
                  PO Box 2208
                  Decatur, AL 35609



                  Ryder Transportation Srv, Inc.
                  PO Box 402336
                  Atlanta, GA 30384-2366



                  S&W Steel And Supply Co
                  2427 Stafford Blvd
                  Pecos, TX 79772



                  S-Con Services, Inc.
                  PO Box 953
                  Bryan, TX 77806



                  Sabin Environmental Services
                  PO Box 610451
                  Dallas, TX 75261-0451



                  Safeway Oil Recovery LLC
                  2917 Mary Ave
                  Waco, TX 76710



                  San Martin Trucking
                  PO Box 69162
                  Odessa, TX 79769
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 43 of 54



                  Security Shredding
                  PO Box 3539
                  Lufkin, TX 75903



                  Serrano, Veronica
                  2996 Westcliff Rd, Apt 4
                  Odessa, TX 79763



                  Seven J Stock Farms, Inc
                  19300 Hwy 21 w
                  Crockett, TX 75835



                  Sherwin Williams
                  1109 Avenue M
                  Huntsville, TX 77340



                  Shield Fire & Supression
                  2312 Devonshire Dt
                  Bryan, TX 77802



                  Sidwell Materials, Inc
                  PO Box 192
                  White Cottage, OH 42791



                  Simpson Crushed Stone LLC #4
                  1948 R 1234
                  Nemo, TX 76070



                  Smith, Billy Sr
                  P.O. Box 246
                  Midway, TX 75852



                  Southern Supply Inc
                  2218 Atkinson Dr., Ste F
                  Lufkin, TX 75901
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 44 of 54



                  Southern Tire Mart LLC
                  PO Box 1000, Dept 143
                  Memphis, TN 38148-0143



                  Speedway SWD Ltd
                  4104 Hwy 21 E
                  PO Box 663
                  Bryan, TX 77860


                  SPL, Inc
                  PO Box 842013
                  Dallas, TX 75284-2013



                  Sprosty Bag
                  PO Box 186
                  Smithville, OH     44677



                  Standley Feed & Seed Inc
                  PO Box 489
                  Madisonville, TX 77864



                  Staples
                  PO Box 83689
                  Chicago, IL 60696-2689



                  Statewide Materials Transport, Ltd
                  PO Box 1080
                  Manor, TX 78653



                  Stewart & Stevenson
                  PO Box 301063
                  Dallas, TX 75303



                  Stewart's Integrity Services
                  PO Box 21218
                  Beaumont, TX 77720
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 45 of 54



                  Stopper, Benjamin E Jr
                  340 Hughes St
                  Williamsport, PA 17701



                  Sun Coast Resources Inc
                  PO Box 202603
                  Dallas, TX 75320



                  Sunbelt Equipment Marketing Inc
                  500 Davenport Dr
                  College Station, TX 77845



                  Sunstate Equipment Co
                  PO Box 52581
                  Phoenix, AZ 85072-2581



                  Superior Plus Energy Services
                  112 Broad St
                  PO Box 128
                  Montoursville, PA 17754


                  Susquehanna Fire Equipment Co
                  PO Box 209
                  Dewart, PA 17730



                  Talgoa Public Works Authority
                  PO Box 307
                  Taloga, OK 73667



                  TCF Equipment Finance
                  11100 Wayzata Blvd, Ste 801
                  Minnetonka, MN 55305



                  TD Rentals
                  PO Box 1825
                  Carrizo Springs, TX   78834
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 46 of 54



                  Tech Corr
                  PO Box 660828
                  Dept 2004
                  Dallas, TX 75266-0828


                  Terracon Consultants, Inc
                  PO Box 959673
                  St Louis, MO 63195-9673



                  Texan Rentals & Lease Services
                  PO Box 206983
                  Dallas, TX 75320-6983



                  Texas Commercial Waste
                  PO Box 645
                  Bryan, TX 77806



                  Texas Comptroller of Public Accounts
                  P.O Box 13528, Capitol Station
                  Austin, Texas 78711-3528



                  Texas Comptroller of Public Accounts
                  111 E 17th St
                  Austin, Texas 78774-0100



                  Texas Document Solution
                  2600 Longhorn Blvd, #102
                  Austin, TX 78758



                  Texas Mutual
                  PO Box 841843
                  Dalla, TX 75284



                  Texas Overhead Door Company
                  122 N W Hillery St
                  Burleson, TX 76028
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 47 of 54



                  Texas Reexcavation Dept 192-2
                  Lockbox 4458
                  Houston, TX 77210-4458



                  Texas State Rentals
                  24010 Tomball Pkwy
                  Tomball, TX 77375



                  The Bank of Madisonville
                  P.O. Box 637
                  Madisonville, TX 77864



                  The Consolidated Water Supply Corp
                  401 NE Loop 304
                  Crockett, TX 75835



                  The Printshop
                  PO Box 52510
                  Midland, TX 79710-2510



                  The Tarp Depot
                  2506 Pasadena Blvd
                  Pasadena, TX 77502



                  Theiss Sausage Company
                  PO Box 682
                  Normangee, TX 77871



                  Thomas Analytical
                  PO Box 9853
                  College Station, TX   77842



                  Tierra Lease Services, LLC
                  PO Box 366
                  Kenedy, TX 78119-0366
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 48 of 54



                  Timmons Oil
                  PO Drawer 2609
                  Bryan, TX 77805-2609



                  Tire Werx
                  PO Box 28
                  Madisonville, TX    77805-2609



                  Titan Inspection Inc
                  PO Box 3665
                  Williamsport, PA 17701



                  TNT Crane and Rigging Inc
                  PO Box 847561
                  Dallas, TX 75284



                  TNT Services, LLC
                  PO Box 433
                  Seiling, OK 73663



                  Toyota Motor Credit
                  P.O. Box 5855
                  Carol Stream, IL 60197-5855



                  Trashy Trash Trailers
                  PO Box 6
                  Leedey, OK 73654



                  Tri County Fence and Rail
                  17 Atlantic Ave West
                  Pittston, PA 18643



                  Tricor Industrial Inc
                  PO Box 752
                  Wooster, OH 44691
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 49 of 54



                  Triumph Premium Finance
                  600 SW Jefferson Ste 204
                  Lee's Summit, MO 64063



                  Tulsa County Assessor
                  Tulsa Cty Admin Bldg Rm 215
                  500 S Denver
                  Tulsa, OK 74103


                  Tulsa County Treasurer
                  500 S Denver Ave, 3rd Fl
                  Tulsa, OK 74103-3840



                  Twin Creek Water Supply Corp.
                  PO Box 88
                  New Baden, TX 77870



                  TXU
                  PO Box 650638
                  Dallas, TX 75265-0638



                  UBEO of East Texas
                  PO Box 791070
                  San Antonio, TX 78279



                  UBEO of East Texas Inc (Dallas)
                  PO Box 660831
                  Dallas, TX 75266-0831



                  UGI Utilities
                  Attn Remittance
                  PO Box 13009
                  Reading, PA 19612


                  United Co-Op
                  PO Box 961079
                  Fort Worth, TX   7616-0079
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 50 of 54



                  United Healthcare Ins Co
                  PO Box 2485
                  Carol Stream, IL 60132



                  United Rentals Gulf LP
                  PO Box 100711
                  Atlanta, GA 30384



                  US Safetygear
                  PO Box 309
                  Leavittsburgh, OH   44430-0309



                  Usable Creative
                  117 Heymann Blvd
                  Suite 17
                  Lafayette, LA 70503


                  UTICA Lease Co
                  44225 Utica Rd
                  Utica, MI 48317



                  Vendor Services
                  7808 Creekridge Circle, Sste 250
                  Edina, MN 55439



                  Vendor Services Group
                  7808 Creekridge Circle Ste 250
                  Edina, MN 55439



                  Verizon
                  PO Box 660108
                  Dallas, TX 75266-0108



                  Vermeer Equipment of Texas Inc
                  Dept 41351
                  PO Box 650823
                  Dallas, TX 75265-0823
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 51 of 54



                  Vermeer North Atlantic
                  7 Maple Ave
                  Lumberton-MT Holly, NJH   08048



                  VFS US LLC
                  PO Box 26131
                  Greensboro, NC   27402



                  Vick Lumber
                  206 West Magnolia St
                  Madisonville, TX 77864



                  Vicking Mat Company
                  PO Box 842612
                  Dallas, TX 75284-2612



                  Vision Transports
                  925 E Fox Dr
                  Enid, OK 73701



                  Walk In Urgent Care
                  5340 Gordon Way
                  Dublin, OH 43017-8870



                  Walsh Electrical Inc
                  927 N State St
                  Clarks Summit, PA 18411



                  Warren Cat
                  PO Box 842116
                  Dallas, TX 75284-2116



                  Waste Management of PA
                  PO Box 13648
                  Philadelphia, PA 19101-3648
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 52 of 54



                  Waste Management of Texas
                  1901 Afton St
                  Houston, TX 77055-2203



                  Waste Management Ohio
                  PO Box 4648
                  Carol Stream, IL 60197-4648



                  Wayne Township Landifll
                  PO Box 209
                  McElhattan, PA 17748



                  We-Rent-It
                  PO Box 512
                  Bryan, TX 77806



                  Weavertown Transport Leasing
                  2 Dorrington Rd
                  Carnegie, PA 15106



                  Webb's Super-Gro Products
                  PO Box C
                  Mill Hall, PA 17751



                  Wells Fargo
                  P.O. Box 29706
                  Phoeniz, AZ 85038



                  West Texas Safety Training Center
                  PO Box 60828
                  Midland, TX 79711



                  West Webb Allbritton & Gentry
                  1515 Emerald Plaza
                  College Station, TX 77485-1515
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 53 of 54



                  Wil-Call Services, Ltd
                  PO Box 473
                  Buffalo, TX 75831



                  Wild West Trucking LLC
                  903 N Hickory St
                  Pecos, TX 79772



                  Wilson Culverts, Inc.
                  P.O. Box 940
                  Elkhart, TX 75839



                  Windstream
                  PO Box 9001908
                  Louisville, KY   40290-1908



                  Winterhawk Pipeline Services LLC
                  10041 E 52nd St
                  Tulsa, OK 74146



                  Woodhill Financial Group Ltd
                  1331 Gemini Ste 103
                  Houston, TX 77058



                  Woodson Lumber & Hardware Inc
                  PO Box 750
                  Buffalo, TX 75831



                  Wooster Industrial Park
                  PO Box 1022
                  Wooster, OH 77691



                  Worldwide Machinery
                  Attn: Ibis Bain
                  PO Box 5010
                  Woodland Hills, CA 91365
Case 18-34567 Document 1 Filed in TXSB on 08/15/18 Page 54 of 54



                  Yellowhouse Machinery (Power Plan)
                  PO Box 31388
                  Amarillo, TX 79120-1388



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